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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

TRACEY LAMOUAR SALTER, II,                           )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )        No. 2:20-cv-00456-JPH-MJD
                                                     )
WHOEVER THIS CONCERNS,                               )
                                                     )
                              Defendant.             )

                          ENTRY DISMISSING ACTION AND
                       DIRECTING ENTRY OF FINAL JUDGMENT

        In the Entry of September 9, 2020, the Court dismissed the complaint pursuant to 28 U.S.C.

§ 1915A(b) for failure to state a claim upon which relief may be granted. Dkt. 4. The Court gave

the plaintiff an opportunity to file an amended complaint that cured the deficiencies that were

identified. Id.

        The plaintiff was also directed to either pay the $400.00 filing fee or move for leave to

proceed in forma pauperis. Id. The deadline for both tasks was October 2, 2020. Id. The plaintiff

has not responded to these directions and the deadline to do so has passed.

        The plaintiff was warned that if he failed to comply with these orders in the time provided,

the Court would dismiss this action without further warning and enter final judgment for failure to

state a claim upon which relief can be granted in accordance with 28 U.S.C. § 1915A(b).

        Accordingly, the action is dismissed for failure to state a claim upon which relief can be

granted and for failure to pay the filing fee. 28 U.S.C. § 1915A(b). This dismissal counts as a

"strike" pursuant to 28 U.S.C. § 1915(g). Judgment consistent with this Entry shall now issue.

SO ORDERED.

Date: 10/20/2020


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